                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,
               Plaintiff,

      v.                                              Case No. 08-CR-89

ISAIAH SMITH,
                    Defendant.


                                          ORDER

      On December 22, 2009, I sentenced defendant Isaiah Smith to 120 months in prison,

the mandatory minimum (then) required by statute and the low end of his guideline range of

120-150 months. On February 11, 2015, defendant filed a request for sentence modification

under 18 U.S.C. § 3582(c)(2) based on the 2-level reduction recently made retroactive by the

Sentencing Commission. See U.S.S.G. § 1B1.10(d) (Amendment 782). Defendant is ineligible

for a reduction because Amendment 782 does not have the effect of lowering his applicable

range due to the statutory mandatory minimum. U.S.S.G. § 1B1.10 cmt. n.1(A); see also

United States v. Foster, 706 F.3d 887, 888 (7th Cir. 2013); United States v. Forman, 553 F.3d

585, 588 (7th Cir. 2008), overruled on other grounds, United States v. Taylor, No. 13-2978,

2015 U.S. App. LEXIS 2195 (7th Cir. Feb. 11, 2015).

      THEREFORE, IT IS ORDERED that defendant’s motion (R. 810) is DENIED.

      Dated at Milwaukee, Wisconsin, this 17th day of February, 2015.

                                         /s Lynn Adelman
                                         LYNN ADELMAN
                                         District Judge




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